                           Case 18-24939      Doc 59     Filed 05/07/19    Page 1 of 1

                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF MARYLAND
                                          at Baltimore
                                 In re:   Case No.: 18−24939 − NVA      Chapter: 7

Crystal L. Scott−Harris
Debtor

                                                    NOTICE


PLEASE TAKE NOTICE that a hearing will be held

                          at 101 W. Lombard Street, Courtroom 2−A, Baltimore, MD 21201

                          on 6/12/19 at 10:00 AM

to consider and act upon the following:

52 − Application to Employ BK Global Real Estate Services as Broker and Verified Statement of Proposed Party
Filed by George W. Liebmann. (Attachments: # 1 Proposed Order # 2 Exhibit A − Service Agreement # 3 Exhibit B
− Affidavit of Disinterest) (Liebmann, George)


NOTICE TO MOVING PARTY

A service list or certificate of service regarding parties noticed by the court may be obtained through CM/ECF
or PACER. If you believe that a party entitled to notice is not listed, please provide notice to that party
forthwith and file an appropriate certification with the Clerk's office.



Dated: 5/7/19
                                                         Mark A. Neal, Clerk of Court
                                                         by Deputy Clerk, Natalie Guerra
                                                         301−344−3328


Form ntchrgmdb (rev. 12/2003)
